
52 N.Y.2d 840 (1981)
In the Matter of the Arbitration between State Mutual Automobile Insurance Company, Appellant, and Wilfredo Mercado et al., Respondents.
Court of Appeals of the State of New York.
Submitted December 15, 1980.
Decided January 8, 1981.
John V. Henry and Joseph C. Petillo for appellant.
Frederick Feder for respondents.
Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER concur.
*841MEMORANDUM.
The order of the Appellate Division should be modified, with costs, by providing that the arbitration proceed under the terms of the arbitration clause in the insurance policy, and, as so modified, affirmed.
Generally, arbitration is to proceed according to the provisions in the contract (see Matter of Siegel [Lewis], 40 N.Y.2d 687; Matter of Astoria Med. Group [Health Ins. Plan of Greater N. Y.], 11 N.Y.2d 128; Matter of Lipschutz [Gutwirth], 304 N.Y. 58). Under the contract here, one arbitrator is chosen by each party and these two then choose a third. The contract provides further only that arbitration is subject to "[l]ocal rules of law as to procedure and evidence." However convenient the procedures of the American Arbitration Association may be, New York law does not mandate and the out-of-State policy does not authorize the court to direct proceedings before that body.
Order modified, with costs to appellant, in accordance with the memorandum herein and, as so modified, affirmed.
